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                                                    450 5th Street, N.W.
                                                    Washington, DC 20530


Via ECF                                                                    May 30, 2024
The Honorable Julien X. Neals
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

               Re:    United States et al. v. Apple Inc., No. 2:24-cv-04055 (JXN-LDW)

Dear Judge Neals:

       Plaintiffs submit this letter in response to Apple’s request for a pre-motion conference.
Apple’s letter overlooks well-pleaded facts and misstates the law. Apple’s conduct is unlawful
under straightforward antitrust principles, which would require denial of its motion.

        Apple maintains its monopoly power by imposing a web of contractual restrictions, rules,
and restraints on developers, users, and other ecosystem participants. Apple suppresses
competitive threats to its smartphone monopolies, including middleware and other technologies,
that would make it easier for consumers to switch to or choose in the first instance non-Apple
smartphones. See United States v. Microsoft, 253 F.3d 34, 60 (D.C. Cir. 2001) (en banc). For
example, Apple uses control over app distribution and creation to block or degrade “super apps”
and “cloud streaming apps,” middleware that could reduce consumer reliance on the iPhone.
Apple also uses its control over private APIs to restrict the functionality of apps and wearables
that would enhance smartphone competition. Apple’s course of conduct harms not just the
competitive process but also smartphone users who pay higher prices, get reduced innovation,
quality, and privacy, and suffer higher switching costs; developers who face diminished ability
and lessened incentives to innovate; and even Apple’s own short-term profits. Because Apple
“maintains [its] monopoly power [by] compet[ing] on some basis other than the merits,” it has
violated the Sherman Act. LePage’s Inc. v. 3M, 324 F.3d 141, 147 (3d Cir. 2003) (en banc).

        A monopolization claim “has two elements: (1) the possession of monopoly power in the
relevant market and (2) the willful acquisition or maintenance of that power as distinguished
from growth or development as a consequence of a superior product, business acumen, or
historic accident.” United States v. Grinnell Corp., 384 U.S. 563, 570-71 (1966); LePage’s, 324
F.3d at 149. Plaintiffs’ allegations readily satisfy both elements, and Apple’s attempts to create
factual disputes at this stage are inappropriate. Apple also claims incorrectly that
“anticompetitive effects” is a separate element. Letter at 1, ECF 42.1 This is not Apple’s only
misstatement of the law. Apple also fails to cite authority for its incorrect claim that Plaintiffs
must define markets other than the one that is being monopolized. And Apple misconstrues
precedent to create a sweeping grant of near-immunity for all of “a firm’s decisions about the


1 In fact, anticompetitive effects here help establish the “willful maintenance” element. Effects

can also be relevant to monopoly power. Microsoft, 253 F.3d at 51, 57-58.
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terms on which it chooses to deal with third parties,” Letter at 2, that would conflict with long-
standing and well-established antitrust law. The proper analysis is set forth below.

       I.      The Complaint Alleges That Apple Has Monopoly Power

        The Complaint properly alleges markets for smartphones and performance smartphones,
the markets that Apple has monopolized. A smartphone is a platform that connects users, third-
party developers, and other ecosystem participants utilizing the device’s hardware and software.
Compl. ¶¶ 3-4, 48-51, ECF 1. Contrary to Apple’s assertion that apps and accessories are
“disconnected” from smartphones, Letter at 3, there is a close connection between smartphones
and third-party apps and accessories that make the smartphone valuable, see, e.g., id. ¶¶ 66, 71,
79, 91-92, 98-99, 104. Moreover, Apple cites no authority for the proposition that Plaintiffs must
define additional relevant markets beyond the monopolized market just because additional
markets may be implicated. Apple is wrong. See, e.g., Conwood Co., L.P. v. U.S. Tobacco Co.,
290 F.3d 768, 782-83, 790-91 (6th Cir. 2002) (anticompetitive activity in undefined retail market
maintained monopoly in the defined moist snuff wholesale market); Microsoft, 253 F.3d at 54,
60 (“excluding middleware from the relevant market” but finding that conduct affecting
middleware protected operating system monopoly). Apple’s challenges to the alleged U.S.
market for performance smartphones, Letter at 3, lack legal support and disregard robust
allegations that entry-level smartphones, and smartphones sold outside the United States, are not
reasonable substitutes for U.S. performance smartphones. See, e.g., Compl. ¶¶ 165-171, 176-179.

        Monopoly power can be shown by direct proof or circumstantial evidence, Microsoft, 253
F.3d at 51, and the Complaint pleads both. Direct proof can include a “pattern of exclusionary
conduct [that is only] rational if the firm knew that it possessed monopoly power,” id. at 58, or
“profitably rais[ing] prices substantially above the competitive level,” id. at 51. The allegations
encompass such direct proof, including Apple profitably forgoing innovation without losing
customers and profit margins far exceeding the competitive level. E.g., Compl. ¶¶ 187-88.

        Plaintiffs also adequately allege monopoly power through circumstantial evidence,
including high market share and barriers to entry. Apple has U.S. market shares over 70% in the
performance smartphone market and over 65% for all U.S. smartphones. Id. ¶ 181. Apple’s
shares are “significantly greater than 55 percent,” from which monopoly power may be inferred.
FTC v. AbbVie Inc, 976 F.3d 327, 371, 373 (3d Cir. 2020) (market shares “above 60” percent
sufficient). The Complaint also alleges other indicia of monopoly power. Compl. ¶¶ 180-190.
Apple wrongly claims that “less than 75% market share” is “well short of monopoly levels,”
Letter at 3, misconstruing Kolon Industries v. E.I. DuPont de Nemours & Co., 748 F.3d 160 (4th
Cir. 2014), which itself recognized that a “market share of less than 60%” does not “foreclose a
finding of monopoly power,” id. at 174.

       II.     The Complaint Alleges That Apple Has Acted Anticompetitively

        Conduct “may be deemed anticompetitive” if it “impairs the opportunities of rivals and
either does not further competition on the merits or does so in an unnecessarily restrictive way.”
Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 308 (3d Cir. 2007). This analysis “necessarily
turn[s] on the facts and circumstances surrounding a company’s alleged anticompetitive
conduct.” Mylan Pharm. Inc. v. Warner Chilcott Public Ltd. Co., 838 F.3d 421, 441 (3d Cir.
2016). In particular, the Third Circuit has applied a burden-shifting framework where (1) the
plaintiff first provides “evidence of the anticompetitive nature of a defendant’s conduct,” (2) “the
defendant then has the burden of proffering nonpretextual procompetitive justifications for its
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conduct,” and (3) “the plaintiff may then either rebut those justifications or demonstrate that the
anticompetitive harm outweighs the procompetitive benefit.” Id. at 438 (cleaned up).2

        This standard applies here. Contrary to Apple’s argument, Letter at 2-3, the Complaint
pleads facts linking the challenged acts to reduced smartphone competition, explaining how
Apple’s restrictions on cross-platform technologies keep iPhone users from switching to Apple’s
smartphone rivals. Compl. ¶¶ 66, 71, 79, 98-99, 104. Moreover, the Complaint contains many
allegations of harm flowing from and linked to Apple’s anticompetitive conduct: a worse user
experience for both iPhones and rival smartphones, reduced consumer choice, higher prices and
fees, lower quality smartphones, apps, and accessories, and less innovation. E.g., id. ¶¶ 10, 13-
14, 18, 54, 56, 67, 71, 90, 100, 104, 126, 132.

        Apple wrongly seeks to supplant the general standard with a “refusal-to-deal framework
[that only] applies to narrow situations.” Chase Mfg., Inc. v. Johns Manville Corp., 84 F.4th
1157, 1173 (10th Cir. 2023). Apple’s argument hinges on a mistaken, overbroad claim that all of
a “firm’s decisions about the terms on which it chooses to deal with third parties do not
constitute exclusionary conduct.” Letter at 2. Courts regularly analyze terms and conditions
imposed by monopolists, including on-platform restrictions, without applying a refusal-to-deal
framework—even in Apple’s cited decisions. See, e.g., Lorain Journal Co. v. United States, 342
U.S. 143, 152 (1951) (newspaper required advertisers to boycott competing radio station to
advertise in its pages); Microsoft, 253 F.3d at 68, 70-71 (placement of AOL on Windows desktop
conditioned on restrictions on promotion and use of non-Microsoft browsers). Here, a refusal-to-
deal framework is inappropriate because the challenged practices are not refusals to provide
requested products or services to smartphone rivals, Chase, 84 F.4th at 1173 (“We have never
extended a refusal-to-deal-with-rivals analysis outside that situation [dealing with rivals].”), but
rather restrictions on developers, users, and others that harm the competitive process by, inter
alia, reducing smartphone switching. Compl. ¶¶ 64, 79, 90, 97-98, 108-09.

        Even if analyzed as refusals to deal, Apple’s practices are anticompetitive. The proper
analysis asks if the refusal is “predatory”—“attempting to exclude rivals on some basis other
than efficiency,” Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585, 605 (1985)—
and the Complaint alleges just that, see, e.g., Compl. ¶¶ 40, 51-53, 142, 147. A variety of factors
inform the “case-by-case assessment[] of whether a challenged refusal to deal is indeed
anticompetitive” and “no factor is always decisive by itself.” Viamedia, Inc. v. Comcast Corp.,
951 F.3d 429, 457 (7th Cir. 2020); see also IQVIA Inc. v. Veeva Sys. Inc., 2018 WL 4815547, at
*3 (D.N.J. Oct. 3, 2018) (“termination of a voluntary agreement and the willingness to forsake
short-term profits are not necessary elements of proving anticompetitive conduct”).

       The Complaint also alleges specific intent to monopolize, e.g., Compl. ¶¶ 52-53, 133,
210, and “exclusionary conduct” from which specific intent “may be inferred,” Pa. Dental Ass’n
v. Med. Serv. Ass’n of Pa., 745 F.2d 248, 261 (3d Cir. 1984); e.g., Compl. ¶¶ 141-147.

                                              Respectfully Submitted,

                                              s/ Jonathan H. Lasken

2
 Apple states that Plaintiffs cannot “combine a series of lawful practices,” Letter at 2, but the
alleged practices are unlawful individually, and courts examine “the monopolist’s conduct taken
as a whole rather than considering each aspect in isolation.” LePage’s, 324 F.3d at 162.
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA et al.,

                Plaintiff,
                                                  Case No. 2:24-cv-04055-JXN-LDW
          v.

 APPLE INC.
                Defendants.

                                CERTIFICATE OF SERVICE

       I hereby certify that the above letter and this Certificate of Service were served upon

defendant’s counsel, Craig S. Primis, Esq., Devora W. Allen, Esq., Liza M. Walsh, Esq., and K.

Winn Allen, Esq. 1301 Pennsylvania Avenue, NW, Washington, D.C., 20004, by CM/ECF on

May 30.



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